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                                         UNITED STATES DISTRICT COURT
  9
                                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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      PARI IRANMANESH, Individually and on ) CASE NO. 3:11-cv-02933-AJB-RBB
 12   Behalf of All Others Similarly Situated, )
                                                      )
 13                                                   ) ORDER GRANTING JOINT MOTION TO
                                 Plaintiff,           ) DISMISS
 14                                                   )
               vs.                                    ) (Doc. No. 23)
 15                                                   )
      LEADING EDGE RECOVERY                           )
 16   SOLUTIONS, LLC,                                 )
                                                      )
 17                              Defendant.           )
                                                      )
 18                                                   )
                                                      )
 19                                                   )
 20
               The Court has reviewed the Joint Motion of all parties to dismiss the individual action of
 21
      Plaintiff PARI IRANMANESH, with prejudice, and to dismiss without prejudice the class action
 22
      claims asserted in the lawsuit pursuant to FRCP 41(a)(1)(A)(ii). Pursuant to the Joint Motion, the
 23
      Court orders as follows:
 24
               1.       That the individual action of Plaintiff PARI IRANMANESH is hereby dismissed
 25
      with prejudice, and the class action claims asserted therein are dismissed without prejudice
 26
      pursuant to FRCP 41(a)(1)(A)(ii).
 27
 28                                                       1
                                                                                Order Granting Joint Motion to Dismiss
                                                                                  CASE NO: 3:11-cv-02933-AJB-RBB
      06981.00:187640
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  1            Each party shall bear its/his/their own costs and expenses.
  2           The Court shall retain jurisdiction in this case solely to enforce the settlement for a period of
  3   two years from the entry of this order.
  4           IT IS SO ORDERED:
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  6   DATED: November 7, 2012
  7
                                                      Hon. Anthony J. Battaglia
  8                                                   U.S. District Judge
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                                                                                   Order Granting Joint Motion to Dismiss
                                                                                     CASE NO: 3:11-cv-02933-AJB-RBB
      06981.00:187640
